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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-728V
                                     Filed: March 14, 2017
                                         UNPUBLISHED

****************************
MABEL B. MARKHAM,                        *
                                         *
                     Petitioner,         *     Damages Decision Based on Proffer;
v.                                       *     Pneumococcal Conjugate; Shoulder
                                         *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                      *     (“SIRVA”);
AND HUMAN SERVICES,                      *     Special Processing Unit (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Kelly Burdette, Burdette Law, PLLC, Seattle, WA, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On June 21, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she received a pneumococcal conjugate 13-valent
vaccination (Prevnar-13) in her right arm and subsequently suffered a shoulder injury
related to vaccine administration (“SIRVA”). Petition at 2. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On February 21, 2017, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a SIRVA. On March 13, 2017, respondent filed a proffer on
award of compensation (“Proffer”) indicating petitioner should be awarded $110,000.00.
Proffer at 1. In the Proffer, respondent represented that petitioner agrees with the


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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proffered award. Based on the record as a whole, the undersigned finds that petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $110,000.00 in the form of a check payable to
petitioner, Mabel B. Markham. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


MABEL MARKHAM,

                       Petitioner,

v.                                                      No. 16-728V
                                                        Chief Special Master Nora Beth Dorsey
SECRETARY OF HEALTH AND                                 ECF
HUMAN SERVICES,

                       Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 17, 2017, respondent filed a Rule 4(c) Report in which she conceded

entitlement. On February 21, 2017, the Court issued a Ruling on Entitlement, finding that

petitioner is entitled to compensation. Respondent now proffers that petitioner receive an award

of a lump sum of $110,000.00 in the form of a check payable to petitioner. This amount

represents compensation for all elements of compensation under 42 U.S.C. § 300aa-15(a) to

which petitioner is entitled.1 This proffer does not address final attorneys’ fees and litigation

costs. Petitioner is additionally entitled to reasonable attorneys’ fees and litigation costs, to be

determined at a later date upon petitioner submitting substantiating documentation.

       Petitioner agrees with the proffered award of $110,000.00 as representing all elements of

compensation under 42 U.S.C. § 300aa-15(a) to which petitioner is entitled.

                                               Respectfully submitted,

                                               CHAD A. READLER
                                               Acting Assistant Attorney General

1
       Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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                                     C. SALVATORE D`ALESSIO
                                     Acting Director
                                     Torts Branch, Civil Division

                                     CATHARINE E. REEVES
                                     Deputy Director
                                     Torts Branch, Civil Division

                                     ALTHEA WALKER DAVIS
                                     Senior Trial Counsel
                                     Torts Branch, Civil Division

                                     s/Camille M. Collett
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E-filed: March 13, 2017




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